                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )      CASE NO. 1:09-CR-181
        v.                                     )
                                               )      Chief Judge Curtis L. Collier
 DANA MORRISON                                 )


                                             ORDER

        On November 2, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation (“R&R”) recommending (a) the Court accept Defendant’s plea of guilty to the

 lesser included offense in Count One of the Indictment, conspiracy to distribute and manufacture

 five (5) grams or more of methamphetamine (actual) and fifty (50) grams or more of a mixture and

 substance containing methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B)

 in exchange for the undertakings made by the government in the written plea agreement; (b) the

 Court adjudicate Defendant guilty of the charges set forth in the lesser included offense in Count

 One of the Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

 sentencing; and (d) Defendant shall remain in custody pending sentencing in this matter (Court File

 No. 852). Neither party filed an objection within the given fourteen days. After reviewing the

 record, the Court agrees with the magistrate judge’s R&R. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s R&R (Court File No. 852) pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the Superceding

 Indictment, in exchange for the undertakings made by the government in the written plea agreement,

 is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included



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 offense in Count One of the Superceding Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday, March

 10, 2011, at 2:00 p.m., unless otherwise ordered by the Court.

        SO ORDERED.

        ENTER:



                                             /s/
                                             CURTIS L. COLLIER
                                             CHIEF UNITED STATES DISTRICT JUDGE




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